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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,
                                                           Hon. Hala Y. Jarbou
v.
                                                           Case No. 1:24-cr-00021
MARLON DARRELL WHITE,

      Defendant.
________________________________/

                             ORDER OF DETENTION

       This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in a two-count Indictment. Counts 1 and 2

charge defendant with felon in possession of a firearm and ammunition, in violation

of 18 U.S.C. § 922(1).

       The government sought defendant’s detention on the basis that he is a danger

to the community, 18 U.S.C. § 1342(f)(1), and that he poses a risk of non-appearance,

18 U.S.C. § 3142(f)(2)(A). The Court conducted a hearing on February 20, 2024, at

which defendant was represented by counsel.

       Having considered the information presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that the government has not met its burden of

establishing by preponderant evidence that defendant poses a risk of non-

appearance. The Court also finds, as explained on the record, that the government
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has sustained its burden by clear and convincing evidence that he is a danger to the

community. Further, the Court finds that there is no condition or combination of

conditions of release that will ensure the safety of the community. Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

      DONE AND ORDERED on February 20, 2024.

                                                     /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge




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